             Case 1:17-cv-01266-DLF Document 7 Filed 08/22/17 Page 1 of 4



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                          )
QUALITY CONTROL SYSTEMS CORP.,                            )
                                                          )
                          Plaintiff,                      )
                                                          )
     v.                                                   ) Civil Action No. 17-cv-01266 (BAH)
                                                          )
U.S. DEPARTMENT OF TRANSPORTATION,                        )
                                                          )
                          Defendant.                      )
                                                          )

                                               ANSWER

          Defendant United States Department of Transportation (“DOT”) hereby answers

Plaintiff’s Complaint for Injunctive Relief (“Complaint”) in this Freedom of Information Act

(“FOIA”) case, ECF No. 1, as follows:

                                             First Defense

          To the extent that Plaintiff’s Complaint avers that it has received no response from

defendant to its FOIA request, dated February 24, 2017, this claim is moot as Defendant

responded to Plaintiff’s FOIA request on July 21, 2017.

                                            Second Defense

          Plaintiff’s Complaint fails to state a claim upon which relief may be granted.

                                            Third Defense

          Plaintiff is not entitled to any relief beyond that set forth under FOIA, and the Court lacks

subject matter jurisdiction over Plaintiff’s requests for relief that exceed the relief authorized

under FOIA.

                                            Fourth Defense

          Defendant has not improperly withheld any records under FOIA, 5 U.S.C. § 552.
            Case 1:17-cv-01266-DLF Document 7 Filed 08/22/17 Page 2 of 4




                                          Fifth Defense

               Plaintiff responds to the numbered and unnumbered paragraphs of the Complaint

as follows:

       1.      Paragraph 1 contains Plaintiff’s characterization of this action, to which no

response is required. To the extent denied response is deemed required, Defendant denies the

allegations in paragraph 1.

                                    Jurisdiction and Venue1

       2.      Paragraph 2 contains Plaintiff’s conclusions of law regarding jurisdiction to which

no response is required. To the extent a response is deemed required, Defendant admits that this

Court has jurisdiction over claims brought under FOIA. Paragraph 2 also contains Plaintiff’s

conclusions of law regarding venue to which no response is required. To the extent a response is

deemed required, Defendant admits that this district is a proper venue.

                                              Parties

       3.      Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 3 and therefore denies the same.

       4.      Admit.




1
  Merely for ease of reference, Defendant replicates the headings contained in the Complaint
herein. Although Defendant believes that no response is required to such headings, to the extent a
response is deemed required, and to the extent those headings and titles could be construed to
contain factual allegations, those allegations are denied.
                                                 2
             Case 1:17-cv-01266-DLF Document 7 Filed 08/22/17 Page 3 of 4




              Plaintiff’s FOIA Request and NHTSA’s Failure to Timely Respond

        5.      Defendant admits that Paragraph 5 accurately quotes a portion of the language in

Plaintiff’s February 24, 2017, FOIA request, but avers that the letter speaks for itself and

respectfully refers the Court to the letter for a full and accurate statement of its contents.

        6.      Defendant admits the allegations in Paragraph 6, but further avers that the March

31, 2017, letter speaks for itself and respectfully refers the Court to the letter for a full and

accurate statement of its contents.

        7.      Defendant admits that Paragraph 7 accurately quotes a portion of the language in

its March 31, 2017, letter, but avers that the letter speaks for itself and respectfully refers the

Court to the letter for a full and accurate statement of its contents.

        8.      Defendant denies the allegations in Paragraph 8 and avers that Defendant

responded to Plaintiff’s FOIA request on July 21, 2017.

                                       CAUSE OF ACTION

                        Violation of the Freedom of Information Act for
                          Wrongful Withholding of Agency Records

        9.      The responses to Paragraphs 1 through 8 are incorporated herein by reference.

        10.-12. Paragraphs 10 through 12 state legal conclusions as to which no response is

required. To the extent that a response is required, Defendant denies the allegations.

                                          Requested Relief

        The remainder of Plaintiff’s Complaint contains Plaintiff’s prayer for relief to which no

response is required. To the extent a response is required, Defendant specifically denies that

Plaintiff is entitled to any relief whatsoever. All allegations contained in the Complaint,




                                                   3
          Case 1:17-cv-01266-DLF Document 7 Filed 08/22/17 Page 4 of 4



including headings, that are not specifically admitted, qualified or denied herein are hereby

denied as completely as if separately and specifically denied.

                                      Respectfully submitted,

                                      CHANNING D. PHILLIPS, D.C. Bar #415793
                                      United States Attorney
                                      for the District of Columbia

                                      DANIEL F. VAN HORN, D.C. Bar # 924092
                                      Chief, Civil Division

                           By:        _______________/s/____________________
                                      CLAIRE WHITAKER, Bar # 354530
                                      Assistant United States Attorney
                                      Judiciary Center Building
                                      555 4th Street, N.W.
                                      Washington, D.C. 20530
                                      (202) 252-2526 (office)
                                      Claire.Whitaker@usdoj.gov




                                                 4
